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 3
 4                          UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEVADA
 5                                  RENO, NEVADA
 6
 7
     UNITED STATES OF AMERICA,               )     3:05-cr-00085-ECR-RAM
 8                                           )
           Plaintiff,                        )
 9                                           )
     vs.                                     )     Order
10                                           )
   JOSE TRINIDAD TIRADO, aka Hector          )
11 Miguel Vazquez-Irizarry,                  )
                                             )
12         Defendant.                        )
                                             )
13                                           )
14
           Defendant Jose Trinidad Tirado-Sillas filed a letter (#341)
15
     which appears to request re-calculation of his sentence.              The letter
16
     states that according to his calculations, the release date “should
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     be on the first week of January 2014" but the “institution has my
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     release date three months after my calculation date which is on
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     April 4th, 2014.”     He requests that this Court write a letter to the
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     Federal Bureau of Prisons to take care of this matter.
21
           The Bureau of Prisons’ Designation and Sentence Computation
22
     Center (“DSCC”) is solely responsible for calculating federal terms
23
     of imprisonment. Bureau of Prisons, Legal Resource Guide to the
24
     Federal Bureau of Prisons 12 (2008),
25
     http://www.bop.gov/news/PDFs/legal_guide.pdf; see also United States
26
     v. Wilson, 503 U.S. 329, (1992).       “A prisoner challenging the
27
     calculation of a particular sentence does so by filing a Petition
28
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 1 for Writ of Habeas Corpus, pursuant to 28 U.S.C. § 2241, in the U.S.
 2 District Court possessing personal jurisdiction over his or her
 3 immediate custodian (Warden).” Legal Resource Guide to the Federal
 4 Bureau of Prisons 12.          Prior to doing so, the inmate must exhaust
 5 the administrative remedy process.             Id.   28 C.F.R. § 542.10 provides
 6 that the Administrative Remedy Program allows an inmate to seek
 7 formal review of an issue relating to any aspect of his/her own
 8 confinement. It does not appear that Defendant               has exhausted his
 9 administrative remedies, nor is his request properly in the form of
10 a petition for habeas corpus.
11
12         IT IS, THEREFORE, HEREBY ORDERED that Defendant’s request
13 (#341) is DENIED.
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16 DATED: November 9, 2011.
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18                                              UNITED STATES DISTRICT JUDGE
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